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11
                      IN THE UNITED STATES DISTRICT COURT
12
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16   G AVIN NEWSOM, IN msOFFICIAL
     CAPACITY AS GOVERNOROF THE
17   STATEOF CALIFORN IA; STATE OF               DECLARATION OF PAULS. ECK
     CALIFORNIA,
18                                        Date:
                              Plaintiffs, Time:
19                                        Courtroom:
                v.                        Judge: Charles R. Breyer
20                                        Trial Date:
                                          Action Filed: 6/9/2025
21   DONALD TRUMP' IN msOFFICIAL
     CAPACITY AS PRESIDENTOF THE
22   UNITEDSTATES; PETE HEGSETH, IN
     msOFFICIAL CAPACITY ASSECRETARY
23   OF THE DEPARTMENTOF DEFENSE;
     U.S. DEPARTMEN T OF DEFENSE,
24
25 Defendants.
26
27
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                                                                       Declaration of Paul S. Eck
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